Case 3:20-cv-00547-MMH-MCR Document 50 Filed 05/11/22 Page 1 of 1 PageID 247




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION


JAWANDA DOVE,
         Plaintiff,
                                                       Case No.: 3:20-cv-547-J-34MCR
v.

FLAGLER COUNTY SCHOOL BOARD,
            Defendants.
_____________________________________________/


                              LOCAL RULE CERTIFICATION

      I HEREBY CERTIFY, that on May 11th, 2022, the undersigned counsel

carefully read and understands the Court’s Local Rules and is filing and will continue

to file any pleadings in compliance with Local Rule 1.08.



                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY, I electronically file the foregoing to Dylan J. Hall, Esquire, Bush

& Augspurger, P.A., Djh@bushlawgroup.com on this 11th day of May 2022.



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